IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI
CENTRAL DIVISION

 REPRODUCTIVE HEALTH SERVICES OF
 PLANNED PARENTHOOD OF THE ST.
 LOUIS REGION, INC., et al.,
                                                          No. 2:19-cv-04155-BP
                           Plaintiffs,

 v.

 MICHAEL L. PARSON, et al.,

                           Defendants.



            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

               Plaintiffs, by their undersigned counsel and pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), hereby voluntarily dismiss without prejudice the claims made in this action

against Defendants. Plaintiffs file this notice of dismissal in light of the Supreme Court’s

decision in Dobbs v. Jackson Whole Women’s Health, overruling Roe v. Wade, 410 U. S. 113,

and Planned Parenthood of Southeastern Pa. v. Casey, 505 U. S. 833. 597 U. S. ____ (2022).

Plaintiffs have filed this notice of dismissal with the Clerk of the United States District Court for

the Western District of Missouri.

Dated: June 24, 2022

                                                         LAW OFFICE OF ARTHUR
                                                         BENSON

                                                         By: /s/ Arthur A. Benson II
                                                         Arthur A. Benson II, #21107
                                                         Jamie Kathryn Lansford, #31133
                                                         4006 Central Avenue
                                                         Kansas City, MO 64111
                                                         Tel: (816) 531-6565
                                                         abenson@bensonlaw.com
                                                         jlansford@bensonlaw.com



           Case 2:19-cv-04155-BP Document 92 Filed 06/24/22 Page 1 of 3
                                   PAUL, WEISS, RIFKIND, WHARTON &
                                   GARRISON LLP

                                   Claudia Hammerman (Pro hac vice)
                                   Daniel J. Klein (Pro hac vice)
                                   Allison C. Penfield (Pro hac vice)
                                   Melina M. Meneguin Layerenza (Pro hac
                                   vice)
                                   1285 Avenue of the Americas
                                   New York, NY 10019
                                   Tel: (212) 373-3000
                                   chammerman@paulweiss.com
                                   daklein@paulweiss.com
                                   apenfield@paulweiss.com

                                   Jane B. O’Brien (Pro hac vice)
                                   Craig Benson (Pro hac vice)
                                   2001 K Street, N.W.
                                   Washington, DC 20006
                                   Tel: (202) 223-7300
                                   jobrien@paulweiss.com
                                   cbenson@paulweiss.com

                                   PLANNED PARENTHOOD FEDERATION OF
                                   AMERICA

                                   Susan Lambiase (Pro hac vice)
                                   123 William St., Floor 9
                                   New York, NY 10038
                                   Tel: (212) 541-7800
                                   susan.lambiase@ppfa.org

                                   Julie Murray (Pro hac vice)
                                   1110 Vermont Avenue, N.W., Ste. 300
                                   Washington, DC 20005
                                   Tel: (202) 803-4045
                                   julie.murray@ppfa.org

                                   AMERICAN CIVIL LIBERTIES UNION
                                   FOUNDATION, INC.

                                   Andrew D. Beck (Pro hac vice)
                                   125 Broad St.
                                   New York, NY 10004
                                   Tel: (212) 549-2633
                                   abeck@aclu.org



                            2
Case 2:19-cv-04155-BP Document 92 Filed 06/24/22 Page 2 of 3
                                   AMERICAN CIVIL LIBERTIES UNION OF
                                   MISSOURI FOUNDATION

                                   Anthony E. Rothert, #44827
                                   Jessie Steffan, #64861
                                   Omri E. Praiss, #41850
                                   906 Olive Street, Suite 1130
                                   St. Louis, MO 63108
                                   Tel: (314) 652-3114
                                   trothert@aclu-mo.org
                                   jsteffan@aclu-mo.org
                                   opraiss@aclu-mo.org

                                   Gillian R. Wilcox, #61278
                                   406 West 34th Street, Suite 420
                                   Kansas City, MO 64111
                                   Tel: (816) 470-9938
                                   gwilcox@aclu-mo.org

                                   Attorneys for Plaintiffs




                            3
Case 2:19-cv-04155-BP Document 92 Filed 06/24/22 Page 3 of 3
